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                            UNITED STATES DISTRICT COURT FOR
                            THE SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 1:18-CV-20048-DPG


   SEBASTIAN GONZALEZ,

                   Plaintiff,

           v.

   TCR SPORTS BROADCASTING HOLDING,
   LLP d/b/a Mid-Atlantic Sports Network,
   HYUNDAI MOTOR AMERICA, INC.,
   MERCEDES-BENZ USA, LLC, and JIFFY
   LUBE INTERNATIONAL, INC.,

               Defendants.
   _______________________________________/

                       JOINT STIPULATION OF DISMISSAL ONLY
                  AS TO DEFENDANT JIFFY LUBE INTERNATIONAL, INC.

          Plaintiff, Sebastian Gonzalez (“Plaintiff”) and Defendant, Jiffy Lube International, Inc.

  (“Jiffy Lube”), through their respective undersigned counsel, hereby file this Joint Stipulation of

  Dismissal with respect only to Jiffy Lube and jointly enter into the following Stipulation of

  Dismissal:

          1.      All claims and causes of action brought or which could have been brought by the

  Plaintiff against Jiffy Lube only are hereby dismissed, with each party to this stipulation bearing

  its own fees and costs.

          2.      This Stipulation of Dismissal applies only to Jiffy Lube and no other claims or

  Defendants in this action are affected hereby.

          3.      Plaintiff and Jiffy Lube have conferred with all parties to this action, and no party

  objects to the relief requested in this stipulation.
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   Dated: September 13, 2018

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